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                       UNITED STATES COURT OF APPEALS
                          FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

PETER R. MARKSTEINER                                                     CLERK’S OFFICE
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                                    May 19, 2023

2022-2299 - Crown Packaging Technology, Inc. v. Belvac Production Machinery, Inc.

                       NOTICE OF NON-COMPLIANCE
The document (Response Brief) submitted by Belvac Production Machinery, Inc. is
not in compliance with the rules of this court. Within five business days from the
date of this notice, please submit a corrected version of this document correcting the
following:

   •   The cover does not contain the contact information for counsel representing
       the filing party. Fed. R. App. P. 32(a)(2)(F) (brief).

   •   Any reference in a brief to the underlying record or to material authorized to
       be included in an appendix must be to the corresponding appendix page
       number(s) and follow the format prescribed by the court's Electronic Filing
       Procedures ("Appendix Formatting"). Fed. Cir. R. 28(f); Fed. Cir. R. 29(c).
       Appx2859:21-2860:24 on page 1 is an example of improper format.


                                         ***

 If applicable, the deadline for the next or responsive submission is computed from
   the original submission date, not the submission date of the corrected version.

   When filing the corrected document, please include the word "Corrected" in the
  document title or on the cover. See Fed. Cir. R. 25(c)(4) and Fed. Cir. R. 25(i) for
                      information concerning corrected filings.

 A party's failure to timely file a corrected document curing all defects identified on
 this notice may result in the original document being stricken from the docket. An
 appellant's failure to cure a defective filing may also result in the dismissal of the
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         appeal pursuant to Fed. R. App. P. 31(c).


                                  FOR THE COURT

                                  /s/ Peter R. Marksteiner
                                  Peter R. Marksteiner
                                  Clerk of Court
                                  By: M. Ames, Deputy Clerk
